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 1/11/23                                    1          Jerry Donn   RIFLE, MNF: MARLIN FIREARMS
                                                                    CO., TYPE: RIFLE, MODEL: 39A,
                                                                    CAL: 22, SN: B5936

                                                                    SHOTGUN, MNF: ZHONG ZHOU
 1/11/23                                    2          Jerry Donn   MACHINE WORKS, TYPE:
                                                                    SHOTGUN, MODEL: JW2000
                                                                    COACHGUN, CAL: 12, SN: JW12-
                                                                    24318
                                                                    SHOTGUN, MNF: KRAL AV
 1/11/23                                    3          Jerry Donn   SANAYI/REXIMEX, TYPE:
                                                                    SHOTGUN, MODEL: SETTER, CAL:
                                                                    12, SN: KRU035392

                                                                    RIFLE, MNF: RUGER, TYPE: RIFLE,
 1/11/23                                                            MODEL: AMERICAN RIFLE, CAL:
                                            4          Jerry Donn   450, SN: 697-59251


                                                                      (a) HANDGUN, MNF: CHIAPPA
 1/11/23                               5 (a)-(b)       Jerry Donn         FIREARMS LTD, TYPE:
                                                                          PISTOL, MODEL:
                                                                          UNKNOWN TYPE, CAL: ZZ,
                                                                          SN: 14C71475
                                                                      (b) ONE FIREARMS BOX
                                                                          CORRESPONDING WITH
                                                                          CHIAPPA FIREARMS LTD

                                                                    HANDGUN, MNF: KIMBER, TYPE:
 1/11/23                                    6                       PISTOL, MODEL: MICRO 9
                                                       Jerry Donn   CRIMSON, CAL: 9, SN: PB0042989


                                                                    HANDGUN, MNF: MAGNUM
 1/11/23                                    7          Jerry Donn   RESEARCH, INC., TYPE: PISTOL,
                                                                    MODEL: DESERT EAGLE, CAL: 50,
                                                                    SN: DK0024994

                                                                    HANDGUN, MNF: CHIAPPA
 1/11/23                                    8          Jerry Donn   FIREARMS LTD, TYPE: PISTOL,
                                                                    MODEL: 1911-22, CAL: 22, SN:
                                                                    17E03932
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                                                                     HANDGUN, MNF: SHOOTERS
 1/11/23                                     9          Jerry Donn   ARMS MANUFACTURING, INC.
                                                                     (SAM), TYPE: PISTOL, MODEL:
                                                                     M1911 MILITARY, CAL: 45, SN:
                                                                     ML126895

                                                                     HANDGUN, MNF: HIPOINT, TYPE:
 1/11/23                                    10          Jerry Donn   PISTOL, MODEL: CF380, CAL: 380,
                                                                     SN: P922466


                                                                     HANDGUN, MNF: TAURUS
 1/11/23                                    11          Jerry Donn   INTERNATIONAL, TYPE: PISTOL,
                                                                     MODEL: PT22, CAL: 22, SN: 63613Z


                                                                     QTY: 7, MNF: UNKNOWN, CAL: 9
 1/11/23                                    12          Jerry Donn



                                                                     ONE YELLOW SHEET OF PAPER
 1/11/23                                    13          Jerry Donn   STATING "ESTATE GUN
                                                                     COLLECTION SALE ALL MUST BE
                                                                     SOLD"


 1/10/23 (14c)                         14 (a)-(c)       Jerry Donn      (a) 1 BLUE BINDER
 1/11/23 (14a                                                               CONTAINING RECIEPTS
 and 14b)                                                                   FROM SALES AT FIREARM
                                                                            SHOWS seized from
                                                                            02/01/2018 search warrant
                                                                            (N17)
                                                                        (b) financial receipts seized from
                                                                            02/01/2018 search warrant) (N
                                                                            Force 32)
                                                                        (c) receipts and documents
                                                                            02/01/2018 search warrant) (N
                                                                            Force 33)
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 1/10/23            1/10/23                 15        James Gustaw      ONE (1) TB EXTERNAL HARD
                                                        /Kristine       DRIVE CONTAINING FORENSIC
                                                        Beardsley       EXTRACTIONS FROM red iPhone
                                                                        and iPad, and containing complete
                                                                        Extraction report from (red iPhone) and
                                                                        complete Extraction report from (black
                                                                        iPad)

 1/9/23                                16(a)-(e)     (a)Mike Goyak         (a) Ventura Munitions 4473 forms
                                                     (b) Sportsman’s       (b) Sportsman's Warehouse 4473
                                                     Warehouse                 forms
                                                     Custodian of          (c) Bass Pro Shop 4473 forms
                                                     Records               (d) C-A-L Ranch Store 4473 forms
                                                     (c) Bass Pro          (e) New Frontier Armory 4473 form
                                                     Shop Custodian
                                                     of Records
                                                     (d) C-A-L-
                                                     Ranch Stores
                                                     Custodian of
                                                     Records
                                                     (e) New
                                                     Frontier
                                                     Armory
                                                     Custodian of
                                                     Records

                                                                           (a) Chase Bank Records
 1/9/23 (17a)                          17(a)-(b)     (a)                   (b) Financial analysis of Chase
                                                     Chase                     Bank Records
 1/10/23 (17b)                                       Custodian of
                                                     Records
                                                     (b)
                                                     Charles Phillips
                                                                           (a) Ventura Munitions Aquisitions
 1/9/23                                18(a)-(c)       Mike Goyak              and Dispositions electronic book
                                                                           (b) Ventura Munitions handwritten
                                                                               Acquisitions and Dispositions
                                                                               book and invoices
                                                                           (c) Ventura Munitions sales records
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                                                                    (a) Search warrant photo (safe
 1/11/23                               19(a)-(x)       Jerry Donn       location)
                                                                    (b) Search warrant photo (safe
                                                                        open)
                                                                    (c) Search warrant photo (firearms
                                                                        box taken out of safe)
                                                                    (d) Search warrant photo (cash and
                                                                        firearms box by trailer)
                                                                    (e) Search warrant photo (firearms
                                                                        placed at edge of Smart Car in
                                                                        garage)
                                                                    (f) Search warrant photo (pistol in
                                                                        drivers seat of Smart Car)
                                                                    (g) Search warrant photo (photo of
                                                                        Smart Car in driveway)
                                                                    (h) Search warrant photo (Chase
                                                                        envelope to Charles Ellis)
                                                                    (i) Search warrant photo (photo of
                                                                        Smart Car in garage)
                                                                    (j) Search warrant photo (Envelope
                                                                        addressed to Charles Ellis in
                                                                        Smart Car)
                                                                    (k) Search warrant photo (Photo of
                                                                        documents folder in closet)
                                                                    (l) Search warrant photo (Chase
                                                                        document in documents folder)
                                                                    (m) Search warrant photo (photo of
                                                                        "All Ventura Munitions
                                                                        receipts")
                                                                    (n) Search warrant photo (photo of
                                                                        firearm from safe, leaned against
                                                                        safe)
                                                                    (o) Search warrant photo (photo of
                                                                        firearms from safe)
                                                                    (p) Search warrant photo (photo of
                                                                        1911 firearm from safe)
                                                                    (q) Search warrant photo (boxes in
                                                                        safe)
                                                                    (r) Search warrant photo (zebra gun
                                                                        from safe)
                                                                    (s) Search warrant photo (firearm in
                                                                        box from safe)
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                                                                         (t) Search warrant photo (firearm in
                                                                             box from safe)
                                                                         (u) Search warrant photo (Photo of
                                                                             Chiappa firearm)
                                                                         (v) Search warrant (photo of cash in
                                                                             drawer from safe)
                                                                         (w) Search warrant photo (Estate
                                                                             Gun Collection Sale All Must be
                                                                             Sold)
                                                                         (x) Search warrant photo (blue
                                                                             book)
                                                                         (a) 6 pack lineup shown to Ketorie
                                       20(a)-(c)     Ketorie Johnson         Johnson
                                                                         (b) Photo of firearm by Ketorie
                                                                             Johnson
                                                                         (c) Photo of firearm by Ketorie
                                                                             Johnson
                                                                         (a) 6 pack lineup shown to Juanta
 1/11/23                               21(a)-(e)     Juanta Culbert          Culbert
                                                                         (b) Photo of firearm box 1 (Juanta
                                                                             Culbert)
                                                                         (c) Photo of firearm box 2 (Juanta
                                                                             Culbert)
                                                                         (d) Photo of firearm box 3 (Juanta
                                                                             Culbert)
                                                                         (e) Photo of firearm box price tag
                                                                             (Juanta Culbert)
                                                                     6 pack lineup shown to Cheyenne
 1/11/23                                    22         Cheyenne      Washington
                                                      Washington


                                                                      Demonstrative Presentation and
                                            23         Daniel Yun     Demonstrative Photos of 15 Firearms
                                                                      Sold by Charles Ellis
 (demonstrative
 purposes only)

 1/9/23                                24(a)-(e)        Certified         (a) ATF BLUE-RIBBON
                                                       Documents              CERTIFICATION
                                                                              REGARDING CHARLES
                                                                              ELLIS FEDERAL FIREARMS
                                                                              LICENSE
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                                                                      (b) ATF CERTIFIED RECORDS
                                                                          RELATING SHOWING NO
                                                                          ATF LICENSES ISSUED TO
                                                                          ANTHONY RAMIREZ III
                                                                          AND EBEN SHERBURNE
                                                                      (c) ATF CERTIFIED FIREARMS
                                                                          TRACES RELATED TO
                                                                          CHARLES ELLIS FROM THE
                                                                          ATF NATIO
                                                                      (d) ADDITIONAL CERTIFIED
                                                                          ATF TRACE RECORDS FOR
                                                                          ELLIS NATIONAL TRACING
                                                                          CENTER
                                                                      (e) ATF CERTIFIED MULTIPLE
                                                                          SALE REPORTS FOR
                                                                          CHARLES ELLIS
                                                                      (a) CA DMV Certification
 1/9/23                                25(a)-(c)        Certified     (b) CA DMV Certification for Eben
                                                       Documents          Sherburne
                                                                      (c) CA DMV Certification for
                                                                          Anthony Ramirez
                                                                      (a) Negative Response to Eben
 1/9/23                                26(a)-(d)        Certified         Sherburne & Anthony Ramirez--
                                                       Documents          Nevada DMV
                                                                      (b) Negative Response to Eben
                                                                          Sherburne & Anthony Ramirez--
                                                                          Nevada Southwest Gas
                                                                      (c) Negative Response to Eben
                                                                          Sherburne & Anthony Ramirez--
                                                                          Nevada Energy
                                                                      (d) Negative Response to Eben
                                                                          Sherburne & Anthony Ramirez--
                                                                          Water
                                                                      (a) Master Summery Chart
 1/11/23                               27(a)-(d)          Mark        (b) 2016 Calendar
                                                      Giacomantonio   (c) 2017 Calendar
                                                                      (d) 2018 Calendar


 1/11/23                               28(a)-(d)          Mark        (a) Surveillance photo of Anthony
                                                      Giacomantonio       Ramirez in California--walking
                                                                      (b) Surveillance photo of Anthony
                                                                          Ramirez in California—red car
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                                                                      (c) Surveillance photo of Anthony
                                                                          Ramirez in California—red car
                                                                          at Powerhouse
                                                                      (d) Surveillance photo of Anthony
                                                                          Ramirez in California (close up)

 1/11/23                               29(a)-(j)          Mark        (a) SMS message with XXX-XXX-
                                                      Giacomantonio       4938
                                                                      (b) SMS message with XXX-XXX-
                                                                          8499
                                                                      (c) SMS message with XXX-XXX-
                                                                          8296 (Contact Name: RIK)
                                                                      (d) SMS message with XXX-XXX-
                                                                          5464 (Contact Name: Hector
                                                                          Called 1911 45 Cal)
                                                                      (e) SMS message with XXX-XXX-
                                                                          6905
                                                                      (f) SMS message with XXX-XXX-
                                                                          9530
                                                                      (g) SMS message with XXX-XXX-
                                                                          7667
                                                                      (h) SMS message with XXX-XXX-
                                                                          2526
                                                                      (i) SMS message with XXX-XXX-
                                                                          6186 (Contact Name: Trevor)
                                                                      (j) SMS message with XXX-XXX-
                                                                          8300

                                                                      (a) MMS-XXX-XXX-7564 Contact
 1/11/23                             30(a)-30(h)          Mark            Name (Ross bruce)
                                                      Giacomantonio   (b) MMS-XXX-XXX-9789
                                                                      (c) MMS-XXX-XXX-5464 Contact
                                                                          Name (Hector Called 1911 45
                                                                          Cal)
                                                                      (d) MMS-XXX-XXX-9530
                                                                      (e) MMS-XXX-XXX-7667
                                                                      (f) MMS-XXX-XXX-72526
                                                                      (g) MMS-XXX-XXX-6186 Contact
                                                                          Name (Trevor)
                                                                      (h) MMS-XXX-XXX-8300
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                                                                         (a) Chat messages with XXX-XXX-
 1/11/23 (31a)                       31(a)-31(d)     Juanta Culbert          4938
                                                                         (b) Chat messages with XXX-XXX-
 1/11/23 (all                                                                7908 Contact Name (Macshows
 remaining)                                              Mark                Gun Show Cashman)
                                                     Giacomantonio       (c) Chat messages with XXX-XXX-
                                                                             5193
                                                                         (d) Chat messages with XXX-XXX-
                                                                             1391

 1/11/23                                    32           Mark         Charles Ellis Phone_07-02-2016-
                                                     Giacomantonio    Display- coins



 1/11/23                                    33           Mark         Charles Ellis Phone_07-02-2016-
                                                     Giacomantonio    Display- ELLIS behind booth



 1/11/23                                                 Mark         Charles Ellis Phone_07-02-2016-
                                            34       Giacomantonio    Overall- firearms display



 1/11/23                                                 Mark         Charles Ellis Phone 08-06-2016-ELLIS
                                            35       Giacomantonio    Photo



 1/11/23                                                 Mark         Charles Ellis Phone 08-06-2016-Overall
                                            36       Giacomantonio    photo



 1/11/23                                    37           Mark         Charles Ellis Phone 08-06-2016-
                                                     Giacomantonio    Receipt- Joe Orlick



 1/11/23                                    38           Mark         Charles Ellis Phone 08-06-2016-
                                                     Giacomantonio    Receipt- Ketorie Johnson
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 1/11/23                                    39           Mark        Charles Ellis Phone 08-06-2016-
                                                     Giacomantonio   Receipt- Ketorie Johnson 2



 1/11/23                                    40           Mark        Charles Ellis Phone-08-13-2016-
                                                     Giacomantonio   Receipt- Wayne Naholawa with firearm



 1/11/23                                    41           Mark        Charles Ellis Phone-08-14-2016-Cash
                                                     Giacomantonio



 1/11/23                                    42           Mark        Charles Ellis Phone-08-14-2016-
                                                     Giacomantonio   Receipt- William Keene with firearm



 1/11/23                                    43           Mark        Charles Ellis Phone_08-22-2016-1911
                                                     Giacomantonio   Screenshot



 1/11/23                                    44           Mark        Charles Ellis Phone_08-25-2016-
                                                     Giacomantonio   Masterpiece Arms screenshot



 1/11/23                                    45           Mark        Charles Ellis Phone_08-25-2016-
                                                     Giacomantonio   Masterpiece Arms screenshot (2)



 1/11/23                                    46           Mark        Charles Ellis Phone-09-03-2016-
                                                     Giacomantonio   Receipt- Henry Stanley Jr



 1/11/23                                    47           Mark        Charles Ellis Phone-09-10-2016-
                                                     Giacomantonio   Receipt- Mike Karel
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 1/11/23                                    48           Mark        Charles Ellis Phone-10-29-2016-
                                                     Giacomantonio   ELLIS- Gun Show 1



 1/11/23                                    49           Mark        Charles Ellis Phone-10-29-2016-
                                                     Giacomantonio   ELLIS- Gun Show 2



 1/11/23                                    50           Mark        Charles Ellis-10-29-2016-Receipt- Rene
                                                     Giacomantonio   Acosta



 1/11/23                                    51           Mark        Charles Ellis Phone-10-30-2016-
                                                     Giacomantonio   Firearm with price tag on display at gun
                                                                     show


 1/11/23                                    52           Mark        Charles Ellis Phone-11-02-2016-Gun
                                                     Giacomantonio   Show website screen shot



 1/11/23                                    53           Mark        Charles Ellis Phone-11-10-2016-RF 15
                                                     Giacomantonio   Rifle SN RD04037



 1/11/23                                    54           Mark        Charles Ellis Phone-11-10-2016-
                                                     Giacomantonio   Romarm Cugir AK Pistol



 1/11/23                                    55           Mark        Charles Ellis Phone-11-11-2016-
                                                     Giacomantonio   Western Trails Gun Show Website



 1/11/23                                    56           Mark        Charles Ellis Phone-11-12-2016-
                                                     Giacomantonio   Western Trails Gun Show Email
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 1/11/23                                    57           Mark        Charles Ellis Phone-11-20-2016-Gun
                                                     Giacomantonio   Shows USA.com Screenshot



 1/11/23                                    58           Mark        Charles Ellis Phone-11-26-2016-Gun
                                                     Giacomantonio   Show- View of table



 1/11/23                                    59           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Benjamin Sample



 1/11/23                                    60           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Bryce Walker



 1/11/23                                    61           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Calvin Gathrite



 1/11/23                                    62           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Cody Vezirian



 1/11/23                                    63           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Eduardo Villegas 1



 1/11/23                                    64           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Eduardo Villegas 2



 1/11/23                                    65           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Emilio Evans-Grijavala
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 1/11/23                                    66           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Humberto Esparza



 1/11/23                                    67           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Jerry DiGiovanni



 1/11/23                                    68           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Milton Butler



 1/11/23                                    69           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Phillip Claire



 1/11/23                                    70           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Richard Stevens



 1/11/23                                    71           Mark        Charles Ellis Phone-11-26-2016-
                                                     Giacomantonio   Receipt- Shawneca Beckum



 1/11/23                                    72           Mark        Charles Ellis Phone-11-27-2016-
                                                     Giacomantonio   Crossroads of the West Gun Show
                                                                     screenshot


 1/11/23                                    73           Mark        Charles Ellis Phone-11-27-2016-ELLIS
                                                     Giacomantonio   at gun show



 1/11/23                                    74           Mark        Charles Ellis Phone-12-08-2016-FA
                                                     Giacomantonio   Boxes and cases 1
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 1/11/23                                    75           Mark        Charles Ellis Phone-12-08-2016-FA
                                                     Giacomantonio   Boxes and cases 2



 1/11/23                                    76           Mark        Charles Ellis Phone-12-11-2016-ELLIS
                                                     Giacomantonio   at gun show 1



 1/11/23                                    77           Mark        Charles Ellis Phone-12-11-2016-ELLIS
                                                     Giacomantonio   at gun show 2



 1/11/23                                    78           Mark        Charles Ellis Phone-12-11-2016-ELLIS
                                                     Giacomantonio   at gun show 3



 1/11/23                                    79           Mark        Charles Ellis Phone-12-11-2016-Gun
                                                     Giacomantonio   show display case 1



 1/11/23                                    80           Mark        Charles Ellis Phone-12-11-2016-Gun
                                                     Giacomantonio   show display case 2



 1/11/23                                    81           Mark        Charles Ellis Phone-12-11-2016-Gun
                                                     Giacomantonio   show table 1



 1/11/23                                    82           Mark        Charles Ellis Phone-12-11-2016-Gun
                                                     Giacomantonio   show table 2



 1/11/23                                    83           Mark        Charles Ellis Phone-12-15-2016-
                                                     Giacomantonio   Western Trails Gun show screenshot 1
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 1/11/23                                    84           Mark        Charles Ellis Phone-12-15-2016-
                                                     Giacomantonio   Western Trails Gun show screenshot 2



 1/11/23                                    85           Mark        Charles Ellis Phone-01-07-2017-ELLIS
                                                     Giacomantonio   gun show 1



 1/11/23                                    86           Mark        Charles Ellis Phone-01-07-2017-ELLIS
                                                     Giacomantonio   gun show 2



 1/11/23                                    87           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR screenshot 1



 1/11/23                                    88           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR screenshot 2



 1/11/23                                    89           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR screenshot 3



 1/11/23                                    90           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR youtube video screenshot 1



 1/11/23                                    91           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR youtube video screenshot 2



 1/11/23                                    92           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR youtube video screenshot 3
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 1/11/23                                    93           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR youtube video screenshot 4



 1/11/23                                    94           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR youtube video screenshot 5



 1/11/23                                    95           Mark        Charles Ellis Phone-01-10-2017-FN
                                                     Giacomantonio   SCAR youtube video screenshot 6



 1/11/23                                    96           Mark        Charles Ellis Phone-01-20-2017-FN
                                                     Giacomantonio   SCAR screenshot



 1/11/23                                    97           Mark        Charles Ellis Phone-01-21-2017-FN
                                                     Giacomantonio   SCAR for sale at gun show 1



 1/11/23                                    98           Mark        Charles Ellis Phone-01-21-2017-FN
                                                     Giacomantonio   SCAR For sale at gun show 2



 1/11/23                                    99           Mark        Charles Ellis Phone-01-21-2017-
                                                     Giacomantonio   Receipt- Rastelli Regalado



 1/11/23                                    100          Mark        Charles Ellis Phone-01-21-2017-
                                                     Giacomantonio   Receipt- Jose Mariscal



 1/11/23                                    101          Mark        Charles Ellis Phone-01-21-2017-
                                                     Giacomantonio   Receipt- Darrin Allen
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 1/11/23                                    102          Mark        Charles Ellis Phone-01-21-2017-
                                                     Giacomantonio   Receipt- Cheyenne Washington



 1/11/23                                    103          Mark        Charles Ellis Phone-01-21-2017-
                                                     Giacomantonio   Receipt- Cheyenne Washington- close
                                                                     up of license


 1/11/23                                    104          Mark        Charles Ellis Phone_01-22-2017-
                                                     Giacomantonio   Receipt- Steve Gray



 1/11/23                                    105          Mark        Charles Ellis Phone_01-22-2017-ELLIS
                                                     Giacomantonio   at gun show



 1/11/23                                    106          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Trever Scissons



 1/11/23                                    107          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Steven Grodin



 1/11/23                                    108          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Sean Shupp



 1/11/23                                    109          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Luis Andrade



 1/11/23                                    110          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Kenneth Klosterman
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 1/11/23                                    111          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Juan Avila



 1/11/23                                    112          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Jesus Martinez



 1/11/23                                    113          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Jeffery Cannon



 1/11/23                                    114          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Gene Edwards



 1/11/23                                    115          Mark        Charles Ellis Phone-02-04-2017-
                                                     Giacomantonio   Receipt- Darrin Allen



 1/11/23                                    116          Mark        Charles Ellis Phone-02-04-2017-Eben
                                                     Giacomantonio   Sherburne AZ DL and AZ CCW



 1/11/23                                    117          Mark        Charles Ellis Phone-02-05-2017-
                                                     Giacomantonio   Receipt- Joseph Munoz



 1/11/23                                    118          Mark        Charles Ellis Phone-02-05-2017-
                                                     Giacomantonio   Receipt- Jose Munoz-Torres



 1/11/23                                    119          Mark        Charles Ellis Phone-02-05-2017-
                                                     Giacomantonio   Receipt- Eben Sherburne
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 1/11/23                                    120          Mark        Charles Ellis Phone-02-07-2017-
                                                     Giacomantonio   Gunshows-usa.com screenshot 1



 1/11/23                                    121          Mark        Charles Ellis Phone-02-07-2017-
                                                     Giacomantonio   Gunshows-usa.com screenshot 2



 1/11/23                                    122          Mark        Charles Ellis Phone-02-07-2017-
                                                     Giacomantonio   Gunshows-usa.com screenshot 3



 1/11/23                                    123          Mark        Charles Ellis Phone-03-05-2017-List
                                                     Giacomantonio   with prices



 1/11/23                                    124          Mark        Charles Ellis Phone-03-06-2017-AR-
                                                     Giacomantonio   platform rifle



 1/11/23                                    125          Mark        Charles Ellis Phone-04-21-2017-AK
                                                     Giacomantonio   rifle SN N-PAP055329



 1/11/23                                    126          Mark        Charles Ellis Phone-04-22-2017-SN
                                                     Giacomantonio   PS901154



 1/11/23                                    127          Mark        Charles Ellis Phone-04-22-2017-Gun
                                                     Giacomantonio   show table 1



 1/11/23                                    128          Mark        Charles Ellis Phone-04-22-2017-Gun
                                                     Giacomantonio   show table 2
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 1/11/23                                    129          Mark        Charles Ellis Phone-04-22-2017-ELLIS
                                                     Giacomantonio   at gun show



 1/11/23                                    130          Mark        Charles Ellis Phone-04-25-2017-
                                                     Giacomantonio   Firearms on display at FFL 1



 1/11/23                                    131          Mark        Charles Ellis Phone-04-25-2017-
                                                     Giacomantonio   Firearms on display at FFL SCCY
                                                                     CPX-2


 1/11/23                                    132          Mark        Charles Ellis Phone-04-29-2017-SCCY
                                                     Giacomantonio   CPX-2 Ventura Munitions website
                                                                     screenshot 1


 1/11/23                                    133          Mark        Charles Ellis Phone-04-29-2017-SCCY
                                                     Giacomantonio   CPX-2 Ventura Munitions website
                                                                     screenshot 2


 1/11/23                                    134          Mark        Charles Ellis Phone-04-29-2017-SCCY
                                                     Giacomantonio   CPX-2 Ventura Munitions website
                                                                     screenshot 3


 1/11/23                                    135          Mark        Charles Ellis Phone-04-29-2017-SCCY
                                                     Giacomantonio   CPX-2 Ventura Munitions website
                                                                     screenshot 4



 1/11/23                                    136          Mark        Charles Ellis Phone-05-04-2017-
                                                     Giacomantonio   Gunshows-usa.com screenshot
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 1/11/23                                    137          Mark        Charles Ellis Phone-06-10-
                                                     Giacomantonio   2017Receipt- Jose Avila



 1/11/23                                    138          Mark        Charles Ellis Phone-06-10-2017-
                                                     Giacomantonio   Receipt- Kendall Smith



 1/11/23                                    139          Mark        Charles Ellis Phone-06-10-2017-
                                                     Giacomantonio   Receipt- Kirt Williams



 1/11/23                                    140          Mark        Charles Ellis Phone-06-10-2017-
                                                     Giacomantonio   Receipt- Michael Mercer



 1/11/23                                    141          Mark        Charles Ellis Phone-06-10-2017-
                                                     Giacomantonio   Receipt- Omar Paredes



 1/11/23                                    142          Mark        Charles Ellis Phone-06-10-2017-
                                                     Giacomantonio   Receipt- Ramses Gonzalez



 1/11/23                                    143          Mark        Charles Ellis Phone-06-10-2017-
                                                     Giacomantonio   Receipt- Raymone Young



 1/11/23                                    144          Mark        Charles Ellis Phone-06-10-2017-
                                                     Giacomantonio   Receipt- Zacharay Mays



 1/11/23                                    145          Mark        Charles Ellis Phone-06-11-2017-
                                                     Giacomantonio   Receipt- Anna Willis
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 1/11/23                                    146          Mark         Charles Ellis Phone-06-11-2017-US
                                                     Giacomantonio    Currency with rubberband



 1/11/23                                    147          Mark         Charles Ellis Phone-07-07-2017-ELLIS
                                                     Giacomantonio    setup for gun show



 1/11/23                                    148          Mark         Charles Ellis Phone-07-08-2017-
                                                     Giacomantonio    Receipt- Alfred Garcia with different
                                                                      NV DL name 1


 1/11/23                                    149          Mark         Charles Ellis Phone-07-08-2017-
                                                     Giacomantonio    Receipt- Alfred Garcia with different
                                                                      NV DL name 2


 1/11/23                                    150          Mark         Charles Ellis Phone-07-08-
                                                     Giacomantonio    2017Receipt- Alfred Garcia with
                                                                      Different NV DL name 3 DL close up


 1/11/23                                    151          Mark         Charles Ellis Phone-07-09-2017-
                                                     Giacomantonio    Receipt- Albert Ramos



 1/11/23                                    152          Mark         Charles Ellis Phone-07-09-2017-
                                                     Giacomantonio    Receipt- Danny Ochoa



 1/11/23                                    153          Mark         Charles Ellis Phone-07-09-2017-
                                                     Giacomantonio    Receipt- Jack Duckworth



 1/11/23                                    154      Juanta Culbert   Charles Ellis Phone-07-09-2017-
                                                                      Receipt- Jaunta Culbert
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 1/11/23                                    155          Mark        Charles Ellis Phone-07-09-2017-
                                                     Giacomantonio   Receipt- Randy Traver



 1/11/23                                    156          Mark        Charles Ellis Phone-07-09-2017-
                                                     Giacomantonio   Receipt- Steve Turado



 1/11/23                                    157          Mark        Charles Ellis Phone-07-21-2017-
                                                     Giacomantonio   gunshows-usa.com screenshot 1



 1/11/23                                    158          Mark        Charles Ellis Phone-07-21-2017-
                                                     Giacomantonio   gunshows-usa.com screenshot 2



 1/11/23                                    159          Mark        Charles Ellis Phone-08-27-2017-
                                                     Giacomantonio   Receipt- Jose Zepeda



 1/11/23                                    160          Mark        Charles Ellis Phone-08-27-2017-US
                                                     Giacomantonio   currency laid out



 1/11/23                                    161          Mark        Charles Ellis Phone-09-06-2017-Taurus
                                                     Giacomantonio   pistol SN TKP42834



 1/11/23                                    162          Mark        Charles Ellis Phone-09-08-2017-Gun
                                                     Giacomantonio   show billboard



 1/11/23                                    163          Mark        Charles Ellis Phone-09-09-2017-Desert
                                                     Giacomantonio   Eagle pistol zebra colored
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 1/11/23                                    164          Mark        Charles Ellis Phone-09-09-2017-
                                                     Giacomantonio   Masterpice Arms MPA30T 9mm caliber
                                                                     pistol SN FX03604 for sale


 1/11/23                                    165          Mark        Charles Ellis Phone-09-11-2017-
                                                     Giacomantonio   Gunshows-usa.com screenshot 1



 1/11/23                                    166          Mark        Charles Ellis Phone-09-11-2017-
                                                     Giacomantonio   Gunshows-usa.com screenshot 2



 1/11/23                                    167          Mark        Charles Ellis Phone-09-11-2017-
                                                     Giacomantonio   Gunshows-usa.com screenshot 3



 1/11/23                                    168          Mark        Charles Ellis Phone-09-11-2017-
                                                     Giacomantonio   Gunshows-usa.com screenshot 4



 1/11/23                                    169          Mark        Charles Ellis Phone_09-23-2017-Desert
                                                     Giacomantonio   Eagle pistol- zebra colored



 1/11/23                                    170          Mark        Charles Ellis Phone_09-23-2017-
                                                     Giacomantonio   Firearm Display at gun show



 1/11/23                                    171          Mark        Charles Ellis Phone_09-23-2017-
                                                     Giacomantonio   Receipt- Andres Parra



 1/11/23                                    172          Mark        Charles Ellis Phone_09-23-2017-
                                                     Giacomantonio   Receipt- Ernest Reeves
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 1/11/23                                    173          Mark        Charles Ellis Phone_09-23-2017-
                                                     Giacomantonio   Receipt- Michael Perez



 1/11/23                                    174          Mark        Charles Ellis Phone_09-23-2017-
                                                     Giacomantonio   Receipt- Rene Hidalgo



 1/11/23                                    175          Mark        Charles Ellis Phone_09-23-2017-
                                                     Giacomantonio   Receipt- Ricardo Enriquez



 1/11/23                                    176          Mark        Charles Ellis Phone_09-23-2017-
                                                     Giacomantonio   Receipt- Robert Marshall



 1/11/23                                    177          Mark        Charles Ellis Phone-09-24-2017-Gun
                                                     Giacomantonio   show overall



 1/11/23                                    178          Mark        Charles Ellis Phone-10-27-2017-
                                                     Giacomantonio   Screenshot of gun shows



 1/11/23                                    179          Mark        Charles Ellis Phone-12-16-2017-Gun
                                                     Giacomantonio   show setup



 1/11/23                                    180          Mark        Charles Ellis Phone-12-16-2017-
                                                     Giacomantonio   Receipt- Anthony Ramirez



 1/11/23                                    181          Mark        Charles Ellis Phone-12-16-
                                                     Giacomantonio   2017Receipt- Kirt Williams 1
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 1/11/23                                    182          Mark        Charles Ellis Phone-12-16-2017-
                                                     Giacomantonio   Receipt-Kirt Williams 2



 1/11/23                                    183          Mark        Charles Ellis Phone-12-16-2017-
                                                     Giacomantonio   Receipt-Willontary Holmes



 1/11/23                                    184          Mark        Charles Ellis Phone-12-16-2017-
                                                     Giacomantonio   Receipt-Victor Regalado



 1/11/23                                    185          Mark        Charles Ellis Phone-12-17-2017-
                                                     Giacomantonio   Receipt- Mark Bernardo



 1/11/23                                    186          Mark        Charles Ellis Phone-12-17-2017-
                                                     Giacomantonio   Receipt- Manuel Quinones



 1/11/23                                    187          Mark        Charles Ellis Phone-12-16-2017-
                                                     Giacomantonio   Receipt-Juan Saldana1



 1/11/23                                    188          Mark        Charles Ellis Phone-12-16-2017-
                                                     Giacomantonio   Receipt-Juan Saldana2



 1/11/23                                    189          Mark        Charles Ellis Phone-12-16-2017-
                                                     Giacomantonio   Receipt-Jonathoun Jones



 1/11/23                                    190          Mark        Charles Ellis Phone-12-17-2017-
                                                     Giacomantonio   Receipt- Brian Coalwell
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 1/11/23                                    191          Mark        Charles Ellis Phone-12-17-2017-Desert
                                                     Giacomantonio   Eagle Pistol- zebra colored
